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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SHAKER MANNS,
An Individual;

      Plaintiff,

vs.                                                Case No. 16-CV-12031
                                                   Hon. Linda V. Parker
                                                   Mag. Elizabeth A. Stafford
ITC HOLDINGS CORP.,
A Michigan Corporation;

      Defendant.

__________________________________________________________________
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__________________________________________________________________

      CORRECTED COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Shaker Manns, by his attorneys Deborah Gordon Law, complains

against Defendant as follows:

                   Jurisdiction and Venue Are Appropriate

1.    Plaintiff Shaker Manns is a resident of the Eastern District of Michigan.


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2.   Defendant ITC Holdings (hereinafter “Defendant”) is a Michigan

     corporation with its headquarters in the Eastern District of Michigan.

3.   This matter involves interference and retaliation with Plaintiff’s federally

     protected rights arising under the Family Medical Leave Act, (hereinafter

     “FMLA”) racial discrimination and retaliation in violation of Title VII of the

     Civil Rights Act of 1964, as amended, 482 U.S.C. § 2000(e), et seq., racial

     discrimination and retaliation in violation of the Elliott Larsen Civil Rights

     Act, M.C.L. § 37.201 et seq., and termination in violation of public policy.

4.   Subject matter jurisdiction arises under 29 U.S.C. § 2601 (FMLA) and 28

     U.S.C. § 1331 (federal question), and § 1343 (civil rights).

5.   The Court has pendent jurisdiction over related state law claims pursuant to

     28 U.S.C. § 1367.

6.   The events giving rise to this occurred in the Eastern District of Michigan,

     and venue is proper within the meaning of 28 U.S.C. § 1391.

7.   The Equal Employment Opportunity Commission issued Plaintiff a Right to

     Sue Letter on June 1, 2016.

                                   Factual Allegations

8.   Defendant is a power transmission company with its headquarters in Novi,

     Michigan.

9.   Plaintiff is an African-American man.


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10.   Plaintiff was hired by Defendant on or about August 25, 2008 as an

      Electrical Engineer.

11.   Plaintiff was promoted on April 29, 2010 to Senior Engineer.

12.   At Defendant, the hierarchy of positions is as follows: Associate Engineer,

      Engineer, Senior Engineer, Principal Engineer, Manager, Director and Vice

      President.

13.   In early 2012, Plaintiff was assigned a new set of responsibilities managing,

      tracking, benchmarking, and reporting all reliability measures for use

      internally throughout the company and externally to various parties

      including regulators, customers and governmental agencies.

14.   Plaintiff’s performance was satisfactory or better at all times.

            Plaintiff Seeks Opportunities to Advance And Is Denied
                             Numerous Promotions

15.   Between December 2012 and January 2013, Plaintiff sought and was denied

      a promotion to Principal Engineer.

16.   In February 2013, Plaintiff again sought a promotion to Principal Engineer

      and was denied.

17.   At that time, Jon Weist, Manager, Network Applications told Plaintiff that

      he could not be promoted because Principal Engineers must have two

      subordinates reporting to them.



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18.    Plaintiff responded with examples of several Caucasian Principal Engineers

       that did not satisfy this criteria.

19.    In January 2014, Plaintiff interviewed for several Director level positions,

       but was not promoted.

 Plaintiff Is Denied a Promotion to Manager Over a Less-Qualified Caucasian

20.    In November 2014, Plaintiff interviewed for a Manager position.

21.    In December 2014, Darrel Yohnk, a Director at Defendant, notified plaintiff

       that he did not get the position.

22.    Yohnk promoted a less qualified, Caucasian male instead.

      Plaintiff Complains about Defendant’s Hiring and Promotion Practices

23.    In or about February 2015, Plaintiff met with Defendant’s Human Resources

       staff and complained that he had been passed over for promotion unfairly for

       a less-qualified candidate.

24.    Ten days later, Plaintiff was accused of being unprofessional in the meeting

       objecting to unfair treatment.

25.    Plaintiff asked what he had done that was unprofessional, but was given no

       details.

26.    At the end of February 2015, Plaintiff received a positive performance

       evaluation for 2014.




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27.   In or about June 2015, Plaintiff complained again to his supervisors (Gupta

      and Sherry Tang, his Manager) that he was being treated unfairly and wished

      to be promoted.

28.   Gupta said he would raise the issue with Defendant’s senior management.

29.   Plaintiff was again told that he would not be promoted.

30.   In July 2015, Plaintiff had a satisfactory mid-year review.

       Plaintiff Goes on FMLA and Objects to Defendant’s Interference
                              with his Leave

31.   On September 11, 2015, Plaintiff went on an approved FMLA leave for the

      birth of a child.

32.   Plaintiff was advised in writing that he would be on FMLA from September

      28 to December 7, 2015.

33.   Defendant’s employees repeatedly contacted Plaintiff while on FMLA leave

      with regard to work and business matters.

34.   On or about October 12, 2015, after receiving an early morning call from

      Defendant’s office, Plaintiff contacted Defendant’s Human Resources staff

      and requested the interference with his FMLA leave cease.

35.   On or about December 7, 2015, Plaintiff returned to work.

                          Plaintiff Objects to Violations of Law

36.   In or about December 2015, Plaintiff met with attorneys for Defendant

      regarding separate intellectual property litigation.
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37.   During that meeting, Plaintiff reported and objected to violations of law

      involving Defendant.

        Plaintiff is Refused Promotion Again and Opts to be Reassigned

38.   Later in December 2015, Tang and Gupta told Plaintiff that he was going to

      have two employees working under him on reliability issues and that he

      would continue to be the “face” of reliability.

39.   Plaintiff again asked to be promoted, in light of the additional duties of

      managing two employees, and was again denied.

40.   Concluding he would never be fairly treated in his current role, Plaintiff

      requested a re-assignment.

41.   Tang and Gupta agreed and Plaintiff was reassigned to be a Michigan

      Studies Engineer.

               Plaintiff Complains about Interference with FMLA and is
                                  Retaliated Against

42.   On or about January 21, 2016, Plaintiff was told by Tang to complete the

      self-assessment portion of his performance review for the 2015 year.

43.   In doing so, Plaintiff objected to Defendant’s interference with his FMLA

      leave in the fall of 2015.

44.   A week later, Tang told Plaintiff he shouldn’t have written those comments

      in his self-assessment.



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45.   On the morning of February 3, 2016, Plaintiff emailed Human Resources

      requesting his personnel file.

46.   Shortly thereafter, Tang asked Plaintiff to meet with her later in the day.

47.   At the meeting, Plaintiff was told he was being written up for

      insubordination.

                  Plaintiff Complains of Racial Discrimination and Is
                                  Retaliated Against

48.   On or about February 3, 2016, Plaintiff complained in writing to his

      manager and verbally to Human Resources of racial discrimination.

49.   Within two weeks, Plaintiff was given a below average performance rating

      for 2015, his first in his eight years with Defendant.

50.   During a meeting about his 2015 performance review, Tang again raised

      Plaintiff’s objections to Defendant’s interference with his FMLA leave,

      saying she was disappointed he complained.

         Plaintiff Complains of Retaliation but the Retaliation Only Increases

51.   During a meeting with Human Resources on February 21, 2016, Plaintiff

      complained of retaliation for complaining of racial discrimination and

      FMLA interference.

52.   On March 21, 2016, Plaintiff was further retaliated against and told he

      would not get a merit increase or a raise.



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53.   On March 24, 2016 Plaintiff met with Human Resources and was told his

      complaints were unfounded, and that he was being written up again.

54.   Plaintiff was under such serious stress from the harassment and retaliation

      that he sought counseling.

               Plaintiff Complains to the EEOC and Is Retaliated Against

55.   On or about April 4, 2016 Plaintiff filed a complaint of racial discrimination

      and retaliation with the Equal Employment Opportunity Commission.

56.   On or about April 6, 2016 Plaintiff was advised that he had two weeks of

      FMLA leave available to him.

57.   On or about April 14, 2016, Plaintiff submitted paperwork for a two-week

      FMLA leave.

58.   On or about April 15, 2016, apparently in an effort to harass him further,

      Plaintiff was advised he had no available FMLA time remaining.

59.   Due     to     the   continuing   interference,   harassment,   retaliation   and

      discrimination, Plaintiff was compelled to resign and did resign on April 20,

      2016.

                                        COUNT I
                                 Family Medical Leave Act

60.   Plaintiff repeats the aforementioned paragraphs as if they were set forth in

      full herein.



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61.   Defendant is an employer and Plaintiff an employee covered by the Family

      and Medical Leave Act pursuant to 29 U.S.C. § 2601 et seq.

62.   Plaintiff was entitled to leave under the Family and Medical Leave Act, and

      was qualified to enjoy its protections as set forth above.

63.   Defendant engaged in prohibited conduct under the FMLA by interfering

      with, restraining or denying Plaintiff’s rights provided under the Act.

64.   Defendant engaged in further prohibited conduct under the FMLA by

      retaliating against Plaintiff for invoking protections of the Act.

65.   Defendant engaged in further prohibited conduct under the FMLA by

      retaliating against Plaintiff for objecting to Defendant’s interference with the

      protections of the Act.

66.   Defendant’s actions were intentional, with deliberate disregard for the rights

      and sensibilities of the Plaintiff.

67.   As a direct and proximate result of those actions, the terms, conditions and

      privileges of Plaintiff’s employment were adversely affected, and Plaintiff

      was unlawfully terminated.

68.   As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

      sustained loss of earnings and earning capacity, past and future lost earnings,

      the value of fringe and retirement benefits, loss of job and career

      opportunities, damage to his good name and reputation in the community,


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      mental and emotional distress, humiliation and embarrassment, and loss of

      the enjoyment of the ordinary pleasures of life.

                                 COUNT II
       Racial Discrimination (Title VII of the Civil Rights Act of 1964)

69.   Plaintiff hereby incorporates all prior paragraphs as if set forth fully herein.

70.   At all relevant times, Plaintiff was an employee and Defendant his employer

      within the meanings set forth in the Title VII of the Civil Rights Act of

      1964, as amended, 482 U.S.C. § 2000(e), et seq.

71.   Plaintiff is a member of a protected class; his is African- American.

72.   At all times, Plaintiff performed his job duties in a manner that was

      satisfactory or better.

73.   Defendant’s treatment of Plaintiff, as described above, was based, at least in

      part, on the unlawful consideration of his race.

74.    Similarly situated Caucasians were treated better in the terms and conditions

      of their employment and were promoted.

75.   Agents of Defendant were predisposed to discriminate against Plaintiff

      based on his race.

76.   The actions of Defendant and its agents were willful, intentional, in

      deliberate disregard of and with reckless indifference to the rights and

      sensibilities of Plaintiff.



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77.   As a direct and proximate result of those actions, the terms, conditions and

      privileges of Plaintiff’s employment were adversely affected, and Plaintiff

      was unlawfully terminated.

78.   As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

      sustained loss of earnings and earning capacity, past and future lost earnings,

      the value of fringe and retirement benefits, loss of job and career

      opportunities, damage to his good name and reputation in the community,

      mental and emotional distress, humiliation and embarrassment, and loss of

      the enjoyment of the ordinary pleasures of life.

                                    COUNT III
               Retaliation (Title VII of the Civil Rights Act of 1964)

79.   Plaintiff repeats the aforementioned paragraphs as if they were set forth in

      full herein.

80.   At all relevant times, Plaintiff was an employee and Defendant his employer

      within the meanings set forth in the Title VII of the Civil Rights Act of

      1964, as amended, 482 U.S.C. 2000e, et seq.

81.   Title VII prohibits retaliation against any person “because the person has

      opposed a violation of this act or because the person has made a charge, filed

      a complaint, testified, assisted, or participated in an investigation,

      proceeding, or hearing under this act.” M.C.L. § 37.2701.



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82.   Plaintiff engaged in activity protected by Title VII when he complained of

      and opposed unlawful racial discrimination.

83.   The retaliation, by Defendant, that Plaintiff experienced included, but was

      not limited to, reducing his performance evaluation, eliminating his merit

      increase, disciplining him, disparaging him, recalculating his FMLA usage,

      harassing him and terminating him.

84.   The actions of Defendant and its agents were willful, intentional, in

      deliberate disregard of and with reckless indifference to the rights and

      sensibilities of Plaintiff.

85.   As a direct and proximate result of those actions, the terms, conditions and

      privileges of Plaintiff’s employment were adversely affected, and Plaintiff

      was unlawfully terminated.

86.   As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

      sustained loss of earnings and earning capacity, past and future lost earnings,

      the value of fringe and retirement benefits, loss of job and career

      opportunities, damage to his good name and reputation in the community,

      mental and emotional distress, humiliation and embarrassment, and loss of

      the enjoyment of the ordinary pleasures of life.

                                  COUNT IV
        Discrimination in Violation of the Elliott-Larsen Civil Rights Act

87.   Plaintiff hereby incorporates all prior paragraphs as if set forth fully herein.
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88.   At all material times, Plaintiff was an employee, and Defendant was his

      employer, covered by and within the meaning of the Michigan Elliott-Larsen

      Civil Rights Act, M.C.L.A. § 37.2101 et seq.

89.   Plaintiff’s race was a factor that made a difference in Defendant’s decisions

      with regard to Plaintiff’s hiring, compensation, benefits, promotion,

      discipline, performance evaluations and termination.

90.   Had Plaintiff been Caucasian, he would have received higher compensation

      and benefits, promotions, performance reviews, merit increases, and would

      not have been disciplined, harassed or terminated.

91.   Defendant, through its agents, representatives, and employees, was

      predisposed to discriminate on the basis of race and acted in accordance with

      that predisposition.

92.   Defendant, through its agents, representatives, and employees, treated

      Plaintiff differently from similarly situated Caucasian employees in the

      terms and conditions of employment, based on unlawful consideration of

      race.

93.   The actions of Defendant, by their agents, employees and representatives,

      were intentional, in deliberate disregard for the rights and sensibilities of

      Plaintiff.




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94.   As a direct and proximate result of those actions, the terms, conditions and

      privileges of Plaintiff’s employment were adversely affected, and Plaintiff

      was unlawfully terminated.

95.   As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

      sustained loss of earnings and earning capacity, past and future lost earnings,

      the value of fringe and retirement benefits, loss of job and career

      opportunities, damage to his good name and reputation in the community,

      mental and emotional distress, humiliation and embarrassment, and loss of

      the enjoyment of the ordinary pleasures of life.

                                    COUNT V
          Retaliation in Violation of the Elliott-Larsen Civil Rights Act

96.   Plaintiff hereby incorporates all prior paragraphs as if set forth fully herein.

97.   Plaintiff was an employee and Defendant his employer covered by and

      within the meaning of Michigan’s Elliott-Larsen Civil Rights Act, M.C.L. §

      37.2101 et seq.

98.   Plaintiff’s treatment and termination were in retaliation because Plaintiff

      opposed, objected to and refused to acquiesce in racially discriminatory

      employment practices, in violation of the anti-retaliation provisions in the

      Elliott-Larsen Civil Rights Act, supra.




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99.    The actions of Defendant, by their agents, employees and representatives,

       were intentional, in deliberate disregard for the rights and sensibilities of

       Plaintiff.

100. As a direct and proximate result of those actions, the terms, conditions and

       privileges of Plaintiff’s employment were adversely affected, and Plaintiff

       was unlawfully terminated.

101. As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

       sustained loss of earnings and earning capacity, past and future lost earnings,

       the value of fringe and retirement benefits, loss of job and career

       opportunities, damage to his good name and reputation in the community,

       mental and emotional distress, humiliation and embarrassment, and loss of

       the enjoyment of the ordinary pleasures of life.

                                     COUNT VI
      Retaliation in Violation of Michigan Public Policy – “Public Policy Tort”

102. Plaintiff hereby incorporates all prior paragraphs as if set forth fully herein.

103. During his employment with Defendant, Plaintiff failed and refused to

       violate or acquiesce in violations of law, statutes, regulations and/or rules

       promulgated pursuant to law.

104. In particular, Plaintiff failed and refused to violate or acquiesce in the

       unlawful use of the intellectual property of another corporation.



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105. The harassment, retaliation and termination of Plaintiff were carried out, in

      part, in retaliation for his failure and refusal to violate or acquiesce in

      violations of law.

106. The harassment, retaliation and termination of Plaintiff violated clearly

      established public policy of the State of Michigan that an employer may not

      discharge an employee where the alleged reason for the discharge of the

      employee is the failure or refusal to violate a law in the course of

      employment.

107. The actions of Defendant, its agent, representatives and employees were

      intentional and willful, and were in deliberate disregard of and made with

      reckless indifference to the rights and sensibilities of Plaintiff.

108. As a direct and proximate result of those actions, the terms, conditions and

      privileges of Plaintiff’s employment were adversely affected, and Plaintiff

      was unlawfully disciplined, harassed and terminated.

109. As a direct and proximate result of Defendant’s wrongdoing, Plaintiff has

      sustained loss of earnings and earning capacity, past and future lost earnings,

      the value of fringe and retirement benefits, loss of job and career

      opportunities, damage to his good name and reputation in the community,

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                                Relief Requested

      Plaintiff demands judgment against Defendant as follows:

A.    Legal Relief:

      1.    Compensatory damages in whatever amount Plaintiff is found to be
            entitled;

      2.    Exemplary damages in whatever amount Plaintiff is found to be
            entitled;

      3.    Punitive damages in whatever amount Plaintiff is found to be entitled;

      4.    Liquidated damages in whatever amount Plaintiff is found to be
            entitled; and

      5.    An award of interest, costs, reasonable attorney fees, and expert
            witness fees.

B.    Equitable Relief:

      1.    An order from this Court placing Plaintiff in the position he would
            have been in had there been no wrongdoing by Defendant, including
            reinstatement with back pay;

      2.    An injunction out of this Court prohibiting any further acts of
            wrongdoing;

      3.    An award of interest, costs and reasonable attorney fees; and

      4.    Whatever other equitable relief appears appropriate at the time of final
            judgment.




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                                   JURY DEMAND

       Plaintiff Shaker Manns, by his attorneys Deborah Gordon Law, demands a

trial by jury of all the issues in this cause.

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